                      UNITED STATES DISTRICT COURT 
                     EASTERN DISTRICT OF WISCONSIN 
                                                

 
MELISSA JOHNSON, 
 
                Plaintiff,       
 
         v.                                               Case No. 17‐CV‐415 
 
CHRISTOPHER SCHMALING, et al., 
 
                Defendants. 
 
 
                                         ORDER 
 
 
       Plaintiff Melissa Johnson is representing herself. She filed a complaint under 42 

U.S.C. § 1983 alleging that the defendants violated her constitutional rights. The Prison 

Litigation Reform Act (PLRA) applies to her case because, although she is currently on 

active community supervision, she was incarcerated when she filed her complaint. On 

November 1, 2017, U.S. District Judge Lynn Adelman screened Johnson’s complaint and 

allowed  her  to  proceed  on  failure‐to‐protect  claims  against  defendants  Racine  County 

Sheriff  Christopher  Schmaling,  Cpt.  Douglas  Wearing,  Lt.  Shawn  Barker,  Sgt.  Melissa 

Moran, and Sgt. Chad Schulman.  

       All parties have consented to proceed before a magistrate judge. On June 4, 2018, 

the defendants filed a motion for summary judgment, which is now fully briefed. For the 




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    reasons  explained  in  this  decision,  the  court  will  grant  the  defendants’  motion  and 

    dismiss this case.      

    I. RELEVANT FACTS 

           The relevant facts are taken primarily from Johnson’s response to the defendants’ 

proposed  facts  (ECF  No.  45)  and  defendants’  reply  to  Johnson’s  response  to  the 

defendants’  proposed  facts  (ECF  No.  53).  Additional  facts  are  taken  from  Johnson’s 

declaration in support of her response to the defendants’ motion. (ECF No. 46.) The facts 

are undisputed unless noted otherwise.   

           Johnson  was  booked  into  the  Racine  County  Jail  on  March  29,  2015;  she  was 

transferred out on June 15, 2015. (ECF No. 45 ¶¶ 1, 3.) She returned to the jail from August 

7 through 17, September 10 through 14, October 21 through 23, and November 30 through 

December 11, 2015. (Id. at ¶ 4.) At issue in this case are two brief contacts that Johnson had 

with Angel Cartagena at the jail on June 5 and August 12, 2015. 

            The jail maintains “incompatible lists” for inmates. (ECF No. 53 at ¶ 33.) These 

lists are informally referred to as “no‐contact lists.” (Id.) (The court will use the term no‐

contact list because that is how Johnson refers to it.) Any officer, lieutenant, sergeant, or 

captain at the jail can place an inmate on another inmate’s no‐contact list at the request of 

an  inmate  or  jail  staff.  (Id.  at  ¶  34.)  According  to  the  defendants,  no‐contact  lists  are 

primarily used for housing purposes to make sure inmates with restraining orders or a 

history of disputes or misbehaviors are not housed in the same dayroom. (Id.)  



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       Male and female inmates are  housed on  separate  floors  and  have  no scheduled 

day‐to‐day  contact,  although  they  may  come  into  contact  while  being  transported  on 

elevators or when at intake while they wait to be taken to court. (ECF No. 53 at ¶ 35.) Male 

and female inmates may also come into contact at the felony holding tank at the Racine 

County Circuit Court when they are awaiting appearances at trial. (Id.) 

       Cartagena raped Johnson in 2002, but he was not arrested for that crime until 2013, 

after authorities collected his DNA following his arrest on unrelated charges. (ECF No. 46 

at ¶ 29.) Both Cartagena and Johnson were incarcerated at the jail in June 2015. According 

to Johnson, she had heard that  Cartagena was in the jail and feared seeing him, so she 

wrote  several  grievances  to  Wearing,  Barker,  Moran,  Schulman,  and  Schmaling  asking 

that they enter a no‐contact order between her and Cartagena. (ECF No. 53 at ¶ 37.) She 

also asserts that she spoke to Moran, who “brushed [her] off and told [her] it would never 

happen” because she and Cartagena “would never be in the same area in the Jail.” (ECF 

No. 46 at ¶ 4; ECF No. 53 at ¶ 37.) 

       According to the defendants, on June 5, 2015, a bail/bond hearing was scheduled 

in Cartagena’s case and, coincidentally, a bail/bond hearing was scheduled in Johnson’s 

case that same day. (Id. at ¶¶ 41, 42.) As a result, both inmates were placed on a list of 

inmates to be transported to the Racine County Circuit Court.  (Id.) At that time, neither 

Johnson nor Cartagena appeared on the other’s no‐contact list. (Id. at ¶ 47.)  




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        Johnson explains that, on that day, she was riding in the elevator with two other 

female inmates and an escorting officer when the elevator stopped to let others on. (ECF 

No. 46 at ¶ 8.) Cartagena got on the elevator with five or six other male inmates and an 

escorting officer. (Id.) Johnson states that Cartagena “stood so close to [her] body and face 

[she] could feel his breath on [her] skin.” (Id.) Cartagena did not say anything to Johnson 

or  touch her while on  the  elevator; however,  Johnson  asserts that, after they  arrived  at 

court,  they  were  placed  in  adjoining  holding  cells,  where  he  called  her  names  and 

threatened her. (Id.) 

        Shortly after the elevator ride, the transport officer who was with Johnson in the 

elevator (neither party has identified this individual) contacted officer Cynthia Castaneda 

(who  is  not  a  defendant)  and  told  her  that  Johnson  had  been  transported  in  the  same 

elevator as her rapist. (ECF No. 45 at ¶ 46.) Castaneda placed Cartagena on Johnson’s no‐

contact list and called Melissa Olsen (who is not a defendant) in mental health to request 

that she go see Johnson about the elevator encounter. (Id. at ¶¶ 46, 48.) The defendants 

assert that none of them were involved in the elevator encounter, and Schmaling, Wearing, 

Barker, and Schulman do not remember ever being made aware of the encounter. (Id. at ¶ 

50.) Moran asserts that she did not learn about the elevator encounter until a couple of 

months later. (Id. at ¶ 51.) 

        On August 12, 2015, Cartagena was removed from his housing unit to be taken to 

court for his trial. (ECF No. 53 at ¶ 54.) Because she was scheduled to testify at Cartagena’s 



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trial, Johnson was also removed from her housing unit to be taken to court. (Id. at ¶ 55.) 

They both had to pass through intake at the jail before being escorted to court so that they 

could  change  into  street  clothes.  (Id.  at  ¶  56.)  When  Johnson  entered  the  intake  area, 

Cartagena was sitting on a bench. (Id. at ¶ 57.) Johnson saw him and became visibly upset. 

(Id.)  She  explains  that  she  walked  around  the  intake  desk,  away  from  Cartagena.  (Id.) 

Moran, who happened to be in intake at that time, saw Johnson become upset and opened 

the door to Dayroom 3. (Id.) Johnson explains that she went into the dayroom and closed 

herself into a female holding cell. (Id.) Johnson and Cartagena did not speak to one another 

or  have  any  physical  contact  during  this  encounter.  (Id.  at  ¶  58.)  Schmaling,  Wearing, 

Barker, and Schulman were not involved in this encounter, and none of them remember 

ever being made aware of the encounter. (Id. at ¶ 59.) 

           Johnson had no other encounters with Cartagena at the jail. (Id. at ¶ 62.) She was 

transferred out of the jail about five days after this encounter. (Id. at ¶ 61.)    

    II. SUMMARY JUDGMENT STANDARD 

           “The court shall grant summary judgment if the movant shows  that there is no 

    genuine dispute as to any material fact and the movant is entitled to judgment as a matter 

    of law.” Fed. R. Civ. P. 56(a); see also Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986); 

    Celotex Corp. v. Catrett, 477 U.S. 317, 324 (1986); Ames v. Home Depot U.S.A., Inc., 629 F.3d 

    665, 668 (7th Cir. 2011).  “Material facts” are those that “might affect the outcome of the 

    suit.” See Anderson, 477 U.S. at 248. A dispute over a “material fact” is “genuine” if “the 



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    evidence is such that a reasonable jury could return a verdict for the nonmoving party.”  

    Id. 

           A party asserting that a fact cannot be or is genuinely disputed must support the 

assertion  by:  “(A)  citing  to  particular  parts  of  materials  in  the  record,  including 

depositions,  documents,  electronically  stored  information,  affidavits  or  declarations, 

stipulations  (including  those  made  for  purposes  of  the  motion  only),  admissions, 

interrogatory answers, or other materials; or (B) showing that the materials cited do not 

establish the absence or presence of a genuine dispute, or that an adverse party cannot 

produce admissible evidence to support the fact.” Fed. R. Civ. P. 56(c)(1). “An affidavit or 

declaration used to support or oppose a motion must be made on personal knowledge, set 

out facts that would be admissible in evidence, and show that the affiant or declarant is 

competent to testify on the matters stated.” Fed. R. Civ. P. 56(c)(4).  

    III.   ANALYSIS 

           In their opening brief the defendants argue that the court should grant summary 

judgment  in  their  favor,  in  part  because  Johnson  failed  to  exhaust  the  available 

administrative  remedies  before  she  filed  her  lawsuit.  Following  Johnson’s  response  to 

their  motion,  and  in  an  effort  “to  expedite  this  case,  simplify  the  issues  and  avoid 

unnecessary  cost  and/or  delay,”  the  defendants  waived  their  exhaustion  defense.  (ECF 

No. 52 at 5.) Accordingly, the court will address only the defendants’ arguments on the 

merits.  



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        Johnson  contends  that  the  defendants  violated  the  Constitution  by  failing  to 

protect her from a substantial risk of harm when they allowed her to encounter her rapist 

at the jail while on the elevator and while at intake prior to be taken to court. At the time 

of  the  encounters  Johnson  was  a  pretrial  detainee,  so  to  prevail  on  a  claim  that  the 

defendants failed to protect her she must prove that the injury she suffered was objectively 

serious and that the defendants acted with deliberate indifference to her safety. Fisher v. 

Lovejoy, 414 F.3d 659, 662 (7th Cir. 2005) (citing Farmer v. Brennan, 511 U.S. 825, 832 (1994)). 

Johnson  has  described  extreme  emotional  suffering  as  a  result  of  her  encounters  with 

Cartagena,  which  is  sufficient  for  a  reasonable  jury  to  conclude  that  she  suffered  an 

objectively serious injury. Therefore, the court’s analysis will focus only on whether the 

defendants acted with deliberate indifference to her safety.   

        The Supreme Court has explained that a prison official may be liable “only if he 

knows  that  inmates  face  a  substantial  risk  of  serious  harm  and  disregards  that  risk  by 

failing to take reasonable measures to abate it.” Farmer, 511 U.S. at 847. It is not enough 

for  Johnson  to  show  that  the  defendants  were  negligent  or  even  grossly  negligent  in 

response to the risk she faced; she must show they “acted with the equivalent of criminal 

recklessness.” Fisher, 414 F.3d at 662. In fact, “if [the defendants] responded reasonably to 

the risk, even if the harm ultimately was not averted,” they will not be liable because “the 

mere failure of the prison official to choose the best course of action does not amount to a 

constitutional violation.” Id. (quoting Peate v. McCann, 294 F.3d 879, 882 (7th Cir. 2002)).  



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        Johnson  was  permitted  to  proceed  on  a  claim  that  the  defendants  acted  with 

deliberate indifference when they failed to place Cartagena on her no‐contact list when 

she  first  requested  that  they  do  so.  (ECF  No.  8  at  5.)  The  defendants  explain  that  the 

primary purpose of the no‐contact list is to ensure that certain inmates are not housed in 

the same dayroom. There never was a danger of Johnson and Cartagena being housed in 

the same day room because men and women are housed on different floors.  

        To the extent no‐contact  orders serve a purpose other than  determining housing 

assignments, the defendants concede that, while officers make every effort to keep inmates 

with  no‐contact  orders  apart,  the  need  to  periodically  move  inmates  within  the  jail,  or 

from the jail to the court and back, may result in brief encounters (albeit encounters in 

which both inmates are being escorted by officers), including in an elevator or at intake at 

the  jail.  (ECF  No.  52  at  10.)  As  such,  even  if  the  defendants  had  added  Cartagena  to 

Johnson’s no‐contact list when she originally requested, it would not have prevented her 

two encounters with Cartagena. (Id.) Regardless, no reasonable jury could conclude that, 

when  a  no‐contact  order  is  in  place,  any  failure  to  prevent  contact  between  the  two 

inmates, no matter how brief, is deliberate indifference.  

        To  address  the  risks  associated  with  inmates  with  a  no‐contact  order  briefly 

encountering  one  another  at  the  jail,  officers  always  escort  inmates  who  are  outside  of 

their housing units. (ECF No. 52 at 10.) The presence of an escort will not eliminate all 

risks  of  harm,  but  eliminating  all  risks  is  not  what  the  Constitution  requires.  The 



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Constitution requires only that officials employ reasonable measures to abate the risks. 

Farmer, 511 U.S. at 847. Given the administrative needs of the jail, a reasonable jury could 

only conclude that the practice of officers escorting inmates through the jail is a reasonable 

measure  to  abate  the  risks  associated  with  inmates  with  no‐contact  orders  briefly 

encountering one another while moving through the jail.  

        Of course, there may be instances (such as this one) where the presence of an escort 

may  not  be  a  reasonable  measure  to  abate  the  risk  of  harm  associated  with  a  brief 

encounter between two particular inmates. As Johnson explains, she was harmed by the 

mere sight of Cartagena, and the presence of an escort did nothing to address that harm. 

In circumstances such as those, where mere visual contact poses a substantial risk of harm 

to an inmate, a prison official will be liable only if he knew an inmate faced a substantial 

risk of encountering a certain inmate and failed to take reasonable steps to abate the risk 

of an encounter. See, e.g., Farmer, 511 U.S. at 847; see, e.g., Grieveson v. Anderson, 538 F.3d 

763, 777 (7th Cir. 2008).   

        With regard to the first encounter on the elevator, Johnson provides no evidence 

suggesting  that  the  defendants  knew  she  faced  a  substantial  risk  of  encountering 

Cartagena  on  the  elevator  on  June  5,  2012.  The  evidence  shows  that  Johnson  and 

Cartagena had court appearances scheduled on the same day, at roughly the same time, 

in two separate cases. The defendants did not schedule the court hearings, and Johnson 

provides  no  evidence  demonstrating  that  the  defendants  knew  Cartagena  and  Johnson 



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were  both  scheduled  to  go  to  court  at  roughly  the  same  time,  let  alone  that  they  both 

would be riding the elevator at the same time.  

        In  fact,  the  defendants  state  that  they  had  no  knowledge  of  Johnson’s  concerns 

about  Cartagena.  Johnson  asserts  that  she  wrote  the  defendants  letters  and  grievances 

explaining  why  she  wanted  to  have  no  contact  with  Cartagena,  but  she  provides  no 

evidence to suggest that the defendants received those grievances. See Jones v. Drew, 221 

Fed.Appx. 450, 454 (7th Cir. 2007).  Johnson also asserts that she spoke to Moran about her 

concerns  of  encountering  Cartagena  and  that  Moran  told  her  it  would  never  happen 

because they would never be in the same area in the jail (ECF No. 46 ¶ 4), undermining 

her claim that Moran knew she faced a substantial risk of encountering Cartagena.  

        It is possible that Moran could have done more than she did to eliminate all risks 

of unscheduled encounters between Cartagena and Johnson—for example, maybe Moran 

could have checked the court transport lists daily or notified all officers responsible for 

transporting  Johnson  to  be  on  the  lookout  for  Cartagena.  “[B]ut  proving  deliberate 

indifference  requires  more  than  a  showing  of  negligent  or  even  grossly  negligent 

behavior….  [T]he  corrections  officer  must  have  acted  with  the  equivalent  of  criminal 

recklessness.”  Id. (citations and internal quotations  omitted). Because  Johnson provides 

no evidence suggesting the defendants knew she faced a substantial risk of encountering 

Cartagena on the elevator, the defendants cannot be held liable for failing to prevent that 

encounter.    



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        The second encounter (on August 12, 2015) is different. By that time Johnson and 

Cartagena were on each other’s no‐contact lists and were going to court for the same case. 

Given that both Johnson and Cartagena needed to change into street clothes before being 

transported to the courthouse, a jury could reasonably conclude that somebody knew that 

Johnson faced a substantial risk of harm in encountering Cartagena in intake at the jail. 

But  Johnson  has  provided  no  evidence  suggesting  the  defendants  knew  she  faced  a 

substantial risk of harm in encountering Cartagena in intake.  

        The defendants state that they did not know Johnson was scheduled to testify at 

Cartagena’s trial, let alone that she was being moved to intake while he was waiting there. 

Johnson  asserts  that  she  told  the  on‐unit  staff  officer  and  the  court  bailiff  that  she  was 

afraid of encountering Cartagena in intake, but she does not assert that she said that to 

any of the  defendants. Moran happened to be in intake when Johnson arrived, but she 

asserts that she did not know Johnson was coming and so could not have prevented the 

encounter.  Johnson  provides  no  evidence  to  rebut  Moran’s  assertion.  Because  the 

defendants did not know that Johnson faced a substantial risk of harm in encountering 

Cartagena at intake, they are entitled to summary judgment on Johnson’s claim arising 

out of the August 12, 2015 incident.    

        Even if Johnson had named as defendants the on‐unit staff officer and the court 

bailiff (the only two individuals who had actual knowledge of the risk Johnson faced in 

encountering Cartagena in intake), her claims against them would have failed. According 



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to  the  defendants,  Cartagena  was  removed  from  his  housing  unit  at  8:08  a.m.  to  be 

escorted to court for his trial. (ECF No. 53 ¶ 54.) Johnson was removed from her housing 

unit more than an hour and a half later, at 9:46 a.m. (Id. at ¶ 55.) Johnson explains that, at 

her request, both the on‐unit staff officer and the bailiff radioed intake to let them know 

Johnson was on her way. (Id.) Johnson asserts that both officers told her it was all clear 

(she does not identify who told those officers it was clear). (ECF No. 45 at ¶ 21.)  As was 

required  by  jail  policy,  an  officer  escorted Johnson  from  her  housing  unit  to  the  intake 

area.  Unfortunately,  the  area  was  not  clear.  Johnson  immediately  became  upset  upon 

seeing Cartagena, and Moran, who happened to be in the area, opened the door to the 

dayroom so Johnson could move away from Cartagena.  

        Accordingly, the only reasonable conclusion a jury could draw is that the on‐unit 

staff  and  bailiff  employed  reasonable,  although  unsuccessful,  measures  to  prevent 

Johnson from encountering Cartagena. That is all the Constitution requires.  

        Finally,  Johnson  argues  that  she  should  not  have  been  placed  in  a  holding  cell 

adjacent to Cartagena’s, where he was free to taunt her and threaten her. However, the 

holding cell is located at the courthouse, not at the jail. Johnson does not provide evidence 

that the named defendants were responsible for placing her in that cell, that they knew 

she would be placed in that cell, or that they knew Cartagena was taunting her through 

the  cell  walls.  As  previously  explained,  jail  officials  “are  responsible  for  their  own 

misdeeds but not for anyone else’s.” Burks v. Raemisch, 555 F.3d 592, 595 (7th Cir. 2009). 



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Because none of the defendants participated in this alleged violation, they are entitled to 

summary judgment on this aspect of her claim.  

           It is unfortunate that Johnson encountered Cartagena as she did. Regardless, no 

reasonable jury could conclude that the deliberate indifference of the defendants led to 

those encounters. Accordingly, the court finds that the defendants are entitled to summary 

judgment.   

    IV.   CONCLUSION 

           IT  IS  THEREFORE  ORDERED  that  the  defendants’  motion  for  summary 

    judgment (ECF No. 29) is GRANTED. 

           IT IS FURTHER ORDERED that the Clerk of Court DISMISS this case and enter 

    judgment accordingly. 

           This order and the judgment to follow are final. A dissatisfied party may appeal 

    this court’s decision to the Court of Appeals for the Seventh Circuit by filing in this court 

    a notice of appeal within 30 days of the entry of judgment. See Federal Rule of Appellate 

    Procedure 3, 4. This court may extend this deadline if a party timely requests an extension 

    and shows good cause or excusable neglect for not being able to meet the 30‐day deadline. 

    See Federal Rule of Appellate Procedure 4(a)(5)(A). 

           Under  certain  circumstances,  a  party  may  ask  this  court  to  alter  or  amend  its 

    judgment under  Federal  Rule  of  Civil  Procedure  59(e)  or  ask  for  relief  from  judgment 

    under  Federal  Rule  of  Civil  Procedure  60(b).  Any  motion  under  Federal  Rule  of  Civil 



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Procedure 59(e) must be filed within 28 days of the entry of judgment. The court cannot 

extend  this  deadline.  See  Federal  Rule  of  Civil  Procedure  6(b)(2).  Any  motion  under 

Federal Rule of Civil Procedure 60(b) must be filed within a reasonable time, generally 

no  more  than  one  year  after  the  entry  of  the  judgment.    The  court  cannot  extend  this 

deadline. See Federal Rule of Civil Procedure 6(b)(2). 

       A party is expected to closely review all applicable rules and determine what, if 

any, further action is appropriate in a case.   

       Dated at Milwaukee, Wisconsin this 16th day of November, 2018. 
        
 
                                                       
                                                      WILLIAM E. DUFFIN 
                                                           U.S. Magistrate Judge 
        




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